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1    ALBERT J. BORO, JR. (CA Bar #126657)
     ajboro@boro-law.com
2    BORO LAW FIRM
     345 Franklin Street
3    San Francisco, CA 94102
4
     Telephone: (415) 621-2400
     Facsimile: (415) 276-5870
5
     ALANNA D. COOPERSMITH (CA Bar #248447)
6    alanna@eastbaydefense.com
     Attorney at Law
7
     717 Washington Street
8    Oakland, CA 94607
     Telephone: (510) 628-0596
9    Facsimile: (866) 365-9759

10   Attorneys for Defendant
     RAYMOND FOAKES
11

12                                   UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN FRANCISCO DIVISION
15
     UNITED STATES OF AMERICA,                           No. 17-CR-00533-EMC
16
                     Plaintiff,
17                                                       MOTION FOR MISTRIAL BASED ON
             v.                                          GOVERNMENT’S REBUTTAL CLOSING
18                                                       ARGUMENT
     RAYMOND MICHAEL FOAKES,
19
                     Defendant.                          Court: Hon. Edward M. Chen
20

21

22
             TO: ISMAIL RAMSEY, UNITED STATES ATTORNEY, AND KEVIN J. BARRY AND
23
                   LINA Y. PENG, ASSISTANT UNITED STATES ATTORNEYS:
24
             PLEASE TAKE NOTICE that as soon as the matter may be heard, in the courtroom of the
25
     Honorable Edward M. Chen, United States District Court Judge, defendant Raymond Foakes, through
26
     his counsel, will move and hereby does move for a mistrial based on the Government’s improper
27
     argument in its rebuttal closing argument that the alleged “toy run fraud” was racketeering activity that
28
     supports a conviction under Count One (RICO conspiracy). This motion is based on Mr. Foakes’s

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1
     constitutional rights to stand trial only on charges returned by the Grand Jury and to due process of
2
     law and the right to a fair trial guaranteed by the Fifth and Sixth Amendments to the United States
3
     Constitution, Sections 1961 and 1962 of Title 18 of the United States Code and such other laws and
4
     rules that may be applicable to this matter, the attached memorandum of points and authorities, the
5
     files and records in this action, and any additional evidence and argument as may be submitted at or
6
     before the hearing of this matter.
7

8
                            MEMORANDUM OF POINTS AND AUTHORITIES
9
             During the Government’s rebuttal closing argument on May 12, 2023, the prosecution argued
10
     for the first time in the trial that the annual charitable toy run held during the Christmas season by the
11
     Hells Angels Sonoma County charter (“HASC”) constituted racketeering activity that supported a
12
     conviction of Mr. Foakes under Count One (RICO conspiracy). This argument constitutes
13
     prosecutorial misconduct. In its rebuttal closing argument, the Government divided up the alleged
14
     racketeering activity into acts that occurred while Mr. Foakes was in prison and while he was out of
15
     BOP custody. The Government’s argument was intended to counter Mr. Foakes’s defense that he
16
     was not part of the alleged RICO conspiracy because he was in custody during most of the alleged
17
     conspiracy period. The prosecutor stated:
18
                     “MR. BARRY: And as I indicated, and as the evidence said, that one of the
19           reasons that Michelle Conte was threatened is because the Form 12 generated an
             arrest for Mr. Foakes. So, yes, he was in custody, and there should be no dispute
20           about that.
21
                     “Then there is some racketeering activity that transcends the eras that we can't
22           pin a certain time on it based on the evidence, and that would be the toy run fraud.

23                  “So Mr. Conte testified that, over time, toy drive fundraising money was
             diverted to the club. Again, the toys still went to the kids, but additional funds that
24
             were raised weren't used to buy more toys; they went to the Sonoma County Hells
25           Angels.

26                   “And again –

27                   “MR. BORO: Objection, Your Honor. Variance.
28
                   “THE COURT: All right. Again, the -- counsel's statements are not facts.
             Your memory of the facts controls.

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1
                     “MR. BARRY: And, Your Honor, Mr. Boro knows that no racketeering
2            acts needs to be alleged, so that cannot possibly be a variance based on that.
3                    “THE COURT: Well, let's go on.
4
                     “MR. BARRY: Another racketeering -- category of racketeering activity
5            that doesn't have a specified time limit is extortion. Because of the nature of the
             Sonoma County Hells Angels’ extortion, for lack of a better word, is forever.”
6
     Trial 2 Tr. at 7005.
7
             The Government’s request to the jury to convict Mr. Foakes for RICO conspiracy based on
8
     alleged racketeering activity of the “toy run fraud” was an impermissible variance from the
9
     Superseding Indictment (Dkt. #374). The Grand Jury did not allege fraud in “The Means and
10
     Methods of the Enterprise” allegations and did not include fraud in the “pattern of racketeering
11
     activity” of HASC in the Superseding Indictment. Id. at ¶¶ 13-17 & 20-21. In fact, the word “fraud”
12
     is only used in the Superseding Indictment in the overt act concerning alleged “bank fraud and
13
     money laundering in connection with a mortgage fraud scheme.” Id. at ¶ 22(a). And that overt act
14
     was excluded by the Court from the trial as a remedy for the Government’s breach of Mr. Foakes’s
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     2011 plea agreement. See Order Granting in Part Defendant Foakes’s Motion to Dismiss Count One,
16
     filed Jan. 25, 2023 (Dkt. #3128). The Government’s urging the jury to convict based on the “toy run
17
     fraud” was a material variance of the racketeering conspiracy charged in the Superseding Indictment
18
     in violation of Mr. Foakes’s Fifth Amendment right to only stand trial on charges returned by the
19
     Grand Jury. U.S. Const. amend. V.
20
             Moreover, this rebuttal argument is prosecutorial misconduct that materially misstates the
21
     law and violates Mr. Foakes’s constitutional rights to due process and a fair trial. U.S. Const.
22
     amend. V & VI. It is contrary to the law and the jury instructions. Generalized “fraud” does not
23
     come withing the definition of “racketeering activity” in Section 1961. 18 U.S.C. § 1961(1). The
24
     Government introduced no evidence at trial and made no argument in closing that the so-called “toy
25
     run fraud” constituted mail fraud or wire fraud under Sections 1343 and 1344 of Title 18. See 18
26
     U.S.C. § 1961(1)(B). Thus, the alleged “toy run fraud” does not fall within the statutory definition
27
     of racketeering activity. It also does not qualify as racketeering activity under the Court’s final jury
28
     instructions, which did not include any species of fraud as racketeering activity at issue in the case.

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     See Order re Third Amended Closing Final Jury Instructions No. 50, filed May 10, 2023 (Dkt.
2
     #3444). The Government’s argument has improperly invited the jury to convict Mr. Foakes for
3
     RICO conspiracy based on conduct that does not constitute racketeering activity as a matter of law.
4
                                                  CONCLUSION
5
             For the foregoing reasons, Mr. Foakes respectfully requests that the Court grant his motion
6
     for a mistrial due to prosecutorial misconduct in the Government’s rebuttal closing argument.
7
     Dated: May 16, 2023                           Respectfully Submitted:
8

9                                                  BORO LAW FIRM

10                                                 /s/ Albert J. Boro, Jr.
                                                   ALBERT J. BORO, JR.
11
                                                   ALANNA D. COOPERSMITH
12
                                                   ATTORNEY AT LAW
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                                                   Attorneys for Defendant
14                                                 RAYMOND FOAKES

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